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IN THE UNITED STATES DISTRICT COURT, NORTHERN DISTRICT
             OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO, GLORIA KAY
GODWIN, JAMES KENNETH CARROLL
CAROLYN HALL FISHER, CATHLEEN ALSTON                            CASE NO.
LATHAM, JASON M SHEPHERD, on behalf of the
COBB COUNTY REPUBLICAN PARTY, and                               1:20-cv-4809
BRIAN JAY VAN GUNDY,


      Plaintiffs
v.
BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD RAFFENSPERGER,
in his official capacity as Secretary of State and
Chair of the Georgia State Election Board,
DAVID J. WORLEY, in his official capacity as a
member of the Georgia State Election Board,
REBECCA N. SULLIVAN, in her official capacity
as a member of the Georgia State Election Board,
MATTHEW MASHBURN, in his official capacity
as a member of the Georgia State Election Board,
and ANH LE, in her official capacity as a member
of the Georgia State Election Board,
      Defendants.




        CERTIFICATE OF INTERESTED PERSONS AND
             CORPORATE DISCLOSURE STATEMENT

      (1) The undersigned counsel of record for a party to this action certifies

that the following is a full and complete list of all parties in this action,
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including any parent corporation and any publicly held corporation that owns

10% or more of the stock of a party:

        Plaintiffs:

        Coreco Ja’qan Pearson,

        Vikki Townsend Consiglio,

        Brian Jay Van Gundy, Assistant Secretary of the Georgia Republican

Party

        Jason M Shepherd, on behalf of the Cobb County Republican Party

        Gloria Kay Godwin,

        James Kenneth Carroll

        Carolyn Hall Fisher

        Cathleen Alston Latham

        Jason M Shepherd, on behalf of the Cobb County Republican Party

        Defendants:

        The Honorable Brian Kemp, in his official capacity as the Governor of

Georgia;

        The Honorable Brad Raffensperger, in his official capacity as Secretary

of State of the State of Georgia;

        Rebecca N. Sullivan, in her official capacity as Vice Chair of the

Georgia State Election Board;


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      David J. Worley, in his official capacity as a Member of the Georgia

State Election Board;

      Matthew Mashburn, in his official capacity as a Member of the Georgia

State Election Board; and

      Anh Le, in her official capacity as a Member of the Georgia State

Election Board.

      (2) The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or

corporations having either a financial interest in or other interest which

could be substantially affected by the outcome of this particular case:

      DefendTheRepublic.org.

      Cobb County, Georgia Republican Party

      (3) The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this

proceeding:

Plaintiffs:

Harry W. MacDougald
Georgia Bar No. 463076
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/s Sidney Powell*
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*Applications for admission pro hac vice forthcoming

Defendants

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No appearance yet.

      Respectfully submitted, this 27th day of November, 2020.


                                    /s Sidney Powell*
                                    Sidney Powell PC
                                    Texas Bar No. 16209700
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Dallas, Texas 75219

*Application for admission pro hac vice
forthcoming

                                    CALDWELL, PROPST & DELOACH,
                                    LLP

                                    /s/ Harry W. MacDougald
                                    Harry W. MacDougald
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Attorneys for Plaintiffs


The undersigned certifies that the foregoing document was prepared in 13-
point Century Schoolbook font and in accordance with the margin and other
requirements of Local Rule 5.1.

s/ Harry W. MacDougald
Harry W. MacDougald
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     This is to certify that I have on this day e-filed the foregoing Plaintiffs’

Certificate of Interested Persons with the Clerk of Court using the CM/ECF

system, and that I have delivered the filing to the Defendants by email and

FedEx at the following addresses:

     This 27th day of November, 2020.
     Governor Brian Kemp
     206 Washington Street
     111 State Capitol
     Atlanta, GA 30334

     Secretary of State Brad Raffensperger
     214 State Capitol
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     brad@sos.ga.gov
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